  EXHIBIT
Walton, Jon 4-8-21

     10                                                                         Index #: 205.03               Page 1 of 8
                                 ADMINISTRATIVE POLICIES
                                     AND PROCEDURES                             Effective Date: August 1, 2020
                                      State of Tennessee                        Distribution: A
                                   Department of Correction
                                                                                Supersedes: 205-03 (12/21/17)
                                                                                              PCN 18-39 (6/29/18)
            Approved by: Tony Parker

            Subject: CONTRACT MONITORING OF PRIVATELY MANAGED FACILITIES



                      I.    AUTHORITY: TCA 4-3-603 and TCA 41-24-109.

                      II.   PURPOSE: To establish procedures for the monitoring of Tennessee Department of Correction
                            (TDOC) contracts for the operation of privately managed facilities to ensure that the requirements of
                            the contracts are being met.

                     III.   APPLICATION: To TDOC employees and employees of privately managed facilities.

                     IV.    DEFINITIONS:

                            A.     Clinical Services Auditor: For purposes of this policy, TDOC employee(s) assigned to
                                   TDOC Central Office Division of Clinical Services who are authorized by the Commissioner
                                   to audit performance of the clinical services vendors who are under contract for the provision
                                   of those services (medical, behavioral health, and clinical case management) to the
                                   Department.

                            B.     Contract Monitoring Director (CMD): For purposes of this policy, the senior contract
                                   monitor who coordinates the contract monitoring process.

                            C.     Contract Monitor of Compliance (CMC): TDOC employee(s) authorized by the
                                   Commissioner to monitor contract compliance at privately managed facilities.

                            D.     Contract Monitor of Operations (CMO):              TDOC employee(s) authorized by the
                                   Commissioner to serve as the approving authority for specific actions occurring at privately
                                   managed facilities. In the absence of the CMO, the CMC assigned to that facility will serve
                                   that function. In the absence of both the CMO and CMC at privately managed facilities, the
                                   necessary notification/request for authorization will be made by telephone to the correctional
                                   administrator (CA). If the CMO is not reachable via phone, the CMC will be contacted. If
                                   both the CMO and CMC are unavailable by telephone, the CA shall be contacted for required
                                   authorizations or notifications.

                            E.     Contract Monitoring Instrument: A document used by designated TDOC staff to measure,
                                   evaluate, and document contractor performance and compliance with the terms of designated
                                   contracts.

                            F.     Essential Instrument Items: Actions or responsibilities of contractors indicated on the
                                   Contract Monitoring Instruments that have been determined to require 100% compliance.




                       Case 3:22-cv-00093 Document 37-5 Filed 05/25/22 Page 1 of 8 PageID #: 3238
Effective Date: August 1, 2020                      Index # 205.03                     Page    2    of     8

Subject: CONTRACT MONITORING OF PRIVATELY MANAGED FACILITIES


             G.    Facility Management and Maintenance Regional Director (FMM): For purposes of this
                   policy, TDOC employee(s) assigned to TDOC Central Office Division of Facility
                   Management and Maintenance who are authorized by the Commissioner to monitor
                   performance of correctional facility maintenance services vendors who are under contract for
                   the provision of those services (facility maintenance) to the Department.

             H.    Non-Compliance Report (NCR)/Liquidated Damage Event(LDE): Report issued by the
                   monitor to the contractor electronically detailing any finding of non-compliance with the
                   terms of the contract or applicable policies, citing the contract/policy sections that have been
                   violated, the details of the violation, and providing the contractor a space in which to respond.

             I.    Routine Instrument Items: Actions or responsibilities of contractors indicated on contract
                   monitoring instruments that may indicate that less than 100% compliance will not
                   automatically result in issuance of an NCR/LDE and allowing the monitor some discretion.

             J.    Summary of Non-Compliance Reports/Liquidated Damage Event (SNR): Reports by the
                   CMC summarizing any new or unresolved NCR/LDEs, the contractor’s response/corrective
                   action, verification of corrective action, and TDOC management comments.

             K.    Weekly Report of Daily Activities:        Reports prepared by the monitors detailing their
                   weekly/daily monitoring activities.

     V.      POLICY: Designated staff of the Department under the guidance of the Office of the Inspector
             General shall monitor the performance of all contracts for the operation of privately managed
             facilities.

    VI.      PROCEDURES:

             A.    The CMD shall develop procedures and specific guidelines for the development of
                   instruments for use by designated staff in assessing contractor performance at privately
                   managed facilities.

             B.    All contracts shall be monitored according to the frequency specified in the monitoring
                   instruments or more often as indicated by the performance level of the individual contract.

             C.    The Assistant Commissioner of Prisons, Inspector General, and CMD shall ensure that
                   monitoring occurs on a consistent and ongoing basis. All privately managed facilities shall be
                   assigned one full-time CMO and one full-time CMC as on-site monitors. There shall be at a
                   minimum two clinical services auditors within TDOC Central Office who report to the Chief
                   Medical Officer. There shall be at a minimum one FMM within TDOC Central Office who
                   report to the Facility Management and Maintenance Director.

             D.    Contract Monitoring Instrument Development and Training

                   1.     Instruments for privately managed institutions shall be developed by CMD and
                          monitors. The instruments shall be approved by the Inspector General in consultation
                          with the General Counsel for use in evaluating contract compliance for privately
                          managed facilities. The format and content of each instrument shall be the
                          responsibility of the CMD. All instruments shall be forwarded to the contractor prior
                          to implementation.


      Case 3:22-cv-00093 Document 37-5 Filed 05/25/22 Page 2 of 8 PageID #: 3239
Effective Date: August 1, 2020                     Index # 205.03                    Page   3     of    8

Subject: CONTRACT MONITORING OF PRIVATELY MANAGED FACILITIES



                   2.     The applicable instruments shall be reviewed at least annually by the CMD and
                          appropriate Central Office directors designated by the Inspector General, the Assistant
                          Commissioner of Prisons and Assistant Commissioner of Rehabilitative Services.
                          Assessment items on the instruments shall be indicated thereon as being either routine
                          or essential. The determination as to which are essential and which are routine shall
                          be made in consultation with the General Counsel, on the basis of importance and the
                          degree of need for prompt action towards remediation (notice, response, corrective
                          action, and verification).

                   3.     Any revision proposed to an instrument as a result of review shall be made in
                          consultation with the General Counsel. All revisions to the instruments shall be
                          forwarded to the contractor and Warden at least 30 days prior to implementation
                          unless otherwise directed by the Commissioner.

                   4.     Instruments for use at privately managed facilities shall assess items for PREA and
                          Title VI training requirements unless these requirements are monitored by compliance
                          reviews or other monitoring activities.

                   5.     The CMD and CA shall conduct ensure mandatory contract monitoring training is
                          conducted for the onsite monitors at least annually or as needed.

                   6.     The Chief Medical Officer/designee shall ensure that clinical services contract auditor
                          training is conducted at least annually or as needed.

                   7.     The Facility Management and Maintenance Director/designee shall ensure that facility
                          maintenance contract monitoring training is conducted at least annually or as needed.

             E.    Monitoring and Non-Compliance Findings

                   1.     Contract monitoring shall be accomplished by monitors, FMM, and auditors utilizing
                          the appropriate instruments.

                   2.     The monitors, FMM, and auditors shall forward all completed instruments to the
                          CMD and CA for review by the 10th business day after the end of the monitoring
                          period.

                   3.     Contract monitors shall generate a weekly report of daily activities and forward
                          electronic copies to the CMD for review.

                   4.     When monitors, FMM, and auditors detect issues/concerns and these issues are not
                          considered to reflect serious, dangerous, or systemic problems, the monitors and
                          auditors will communicate these to the CMD, CA, for clinical issues the Chief
                          Medical Officer and for facility maintenance issues Facility Management and
                          Maintenance Director for appropriate action which may include an NCR/LDE.




      Case 3:22-cv-00093 Document 37-5 Filed 05/25/22 Page 3 of 8 PageID #: 3240
Effective Date: August 1, 2020                      Index # 205.03                    Page    4    of     8

Subject: CONTRACT MONITORING OF PRIVATELY MANAGED FACILITIES



                   5.     Significant issues of a nature that threaten security or staff/inmate health/safety shall
                          be communicated from the monitors, FMM and auditors immediately to the contractor
                          and Warden, CMD, CA, and for clinical issues the Chief Medical Officer and for
                          facility maintenance issues Facility Management and Maintenance Director for
                          appropriate action which may include an NCR/LDE. These significant issues shall be
                          documented by item number or in the last row entitled NIN (no item number). The
                          monitors, FMM and auditors shall consult with the CMD, CA, and for clinical issues
                          the Chief Medical Officer and for facility maintenance issues Facility Management
                          and Maintenance Director to determine which category (essential or routine) the
                          finding should be considered for response/corrective action/verification purposes.

                          a.     The contractor shall respond to non-compliant items within ten business days.
                                 All contractor responses shall include a plan of corrective action (POCA)
                                 which is subject to the approval of the CMD. If a specific corrective action is
                                 accomplished by the contractor during the time period between monitor’s,
                                 FMM’s, and auditor’s awareness of the noncompliance and the drafting of the
                                 contractor’s response, the response should include documentation to
                                 demonstrate that the finding has been addressed.

                          b.     If the contractor does not concur with the NCR/LDE and/or does not file an
                                 acceptable plan of corrective action within ten business days, the non-
                                 compliance item(s) shall be reviewed by the CMD, CA, for clinical issues the
                                 Chief Medical Officer or designee, for facility maintenance issues Facility
                                 Management and Maintenance Director, and appropriate Assistant
                                 Commissioner(s) as applicable for resolution. The resolution shall be
                                 communicated to the contractor by the CMD and CA and documented on the
                                 SNR.

                          c.     Corrective action/compliance shall be verified immediately upon receipt of the
                                 contractor’s response, if appropriate, and recorded on the subsequent
                                 instrument and the SNR. Continued monitoring shall be at the discretion of the
                                 CMD, and for clinical issues the Chief Medical Officer, and for facility
                                 maintenance issues Facility Management and Maintenance Director.

                          d.     A copy of each NCR/LDE with response(s) shall be on file in the office of the
                                 CMC, CMD, CA, and for clinical issues the Chief Medical Officer, and for
                                 facility maintenance issues Facility Management and Maintenance Director.
                                 The next instrument completed for that contract area shall reference any related
                                 NCR/LDEs and the responses generated during the monitoring period.

                          e.     The CMC, FMM and auditors shall compile an SNR for each monitoring
                                 period. The SNR and the related NCR/LDEs and responses shall be forwarded
                                 to the CMD, CA, and for clinical issues the Chief Medical Officer, and for
                                 facility maintenance issues Facility Management and Maintenance Director by
                                 the 10th business day of the following month by the CMC.




      Case 3:22-cv-00093 Document 37-5 Filed 05/25/22 Page 4 of 8 PageID #: 3241
Effective Date: August 1, 2020                     Index # 205.03                    Page    5    of     8

Subject: CONTRACT MONITORING OF PRIVATELY MANAGED FACILITIES


                                 (1)    Issues noted on the SNR which are not resolved by the time the SNR is
                                        submitted shall be noted as “outstanding issues” and shall be included
                                        on each subsequent month’s SNR until resolution is documented.
                                        Follow-up reviews of non-compliant issues shall be completed. For
                                        non-compliant items that require on-going corrective action plans,
                                        monitors, FMM, and auditors shall verify that the corrective action
                                        plans have been initiated during the monitor’s, FMM’s, and auditor’s
                                        next area visit and noted on the SNR. Repetitive issues will be reported
                                        directly to the CMD, CA, for clinical issues the Chief Medical Officer,
                                        and for facility maintenance issues Facility Management and
                                        Maintenance Director for a more prompt review of the issue.

                                 (2)    Unresolved findings of non-compliance shall be reviewed by the CMD.
                                        The unresolved findings shall be discussed with the CA, Inspector
                                        General, appropriate Assistant Commissioner(s), for clinical issues the
                                        Chief Medical Officer, and for facility maintenance issues Facility
                                        Management and Maintenance Director and contractor representatives.
                                        Directives for corrective action to be taken and documentation of a
                                        timeline for completion of corrective action may be issued to the
                                        contractor in the TDOC management comments section of the finalized
                                        SNR. If formal contract enforcement action is to be taken by TDOC for
                                        breach of contract, notification will be delivered via memorandum from
                                        the Commissioner or other appropriate TDOC management.

                                 (3)    A copy of the finalized SNR and any directives shall be forwarded to
                                        the Deputy Commissioners, the appropriate Assistant Commissioner(s),
                                        the Chief Medical Officer, Facility Management and Maintenance
                                        Director, CA, appropriate directors, contractor, and other applicable
                                        Central Office staff by the CMD.

                                        (a)    The contractor shall respond to the CMC regarding any
                                               unresolved findings of non-compliance and corrective action
                                               required within ten business days of receipt of any such request,
                                               unless otherwise stipulated on the SNR.

                                        (b)    If concerns still exist upon receipt of the contractor’s response,
                                               the CA, for clinical issues the Chief Medical Officer, for facility
                                               maintenance issues Facility Management and Maintenance
                                               Director, and CMD in consultation with the General Counsel
                                               who will determine the next steps.

                  6.     The monitors, FMM, and auditors shall conduct a follow-up review for any item(s)
                         found in non-compliance. This review shall be conducted at the discretion of the CMD
                         within 60-90 days of the initial finding. In addition, all items will be re-evaluated on
                         the next instrument completed after the initial finding. The CMD shall track all
                         NCR/LDEs submitted with the SNRs for purposes of determining if a breach of
                         contract has occurred. [See VI.(F) below].

                  7.     This process does not preclude the monitors. FMM, and auditors from immediately
                         addressing urgent issues directly to the contractor and TDOC administration, as
                         appropriate.

      Case 3:22-cv-00093 Document 37-5 Filed 05/25/22 Page 5 of 8 PageID #: 3242
Effective Date: August 1, 2020                       Index # 205.03                     Page    6    of     8

Subject: CONTRACT MONITORING OF PRIVATELY MANAGED FACILITIES



                  8.     The CA, for clinical issues the Chief Medical Officer, for facility maintenance issues
                         Facility Management and Maintenance Director or CMD may request monitors, FMM,
                         and auditors to audit specific contract requirements for special compliance inquiries.

             F.    Breach of Contract Process

                  1.     Issues of breach for any contract shall be determined according to the provisions of the
                         contract concerning breach of said contract, after review of instrument assessment
                         indications of non-compliance, the notice of non-compliance given to contractor, the
                         response of the contractor, and the adequacy of any corrective action plan indicated, as
                         provided in Section VI.(E) above. The review shall be made by the Inspector General,
                         CMD, CA, General Counsel, for clinical issues the Chief Medical Officer, and for
                         facility maintenance issues Facility Management and Maintenance Director.

                  2.     If on the basis of such review it appears that the contractor is in breach, the reviewers
                         shall further recommend which remedy or remedies available under the contract shall
                         apply. The General Counsel shall be the Commissioner’s designee for issuing notice of
                         breach to the contractor.

                  3.     The Department may determine, based on the circumstances of the non-compliance,
                         that the finding should result in either imposition of immediate liquidated damages or a
                         cure period. The General Counsel shall notify the contractor in writing of the breach
                         and prescribe the method for response and verification.

                         a.      If determined that immediate liquidated damages are appropriate, liquidated
                                 damages shall be assessed beginning the day of the NCR/LDE and shall be
                                 discontinued on the date of the contractor’s response/notification of corrective
                                 action if a monitor verifies that corrective action has cured/appears to cure the
                                 breach.

                         b.      If the Inspector General, in consultation with the General Counsel determines
                                 that the situation requires a cure period, a monitor, FMM, or auditor shall verify
                                 the contractor's corrective action plan by the end of the cure period and notify the
                                 CMD, CA, for clinical issues the Chief Medical Officer, and for facility
                                 maintenance issues Facility Management and Maintenance Director of the results
                                 of the verification. If the corrective action is determined not to cure the breach,
                                 liquidated damages may be assessed beginning the day after the cure period until
                                 the breach is verified as cured.

                         c.      Any subsequent non-compliance finding for the same item within 12 months may
                                 result in a notice of breach and immediate liquidated damages from the day of the
                                 breach until the day a monitor, FMM, or auditor determines that the breach has
                                 been cured.

                  4.     The contractor’s responses to all breach notifications shall be provided by the
                         contractor on the initial NCR/LDE form attached to the Letter of Notification. All
                         contractor responses shall be provided in writing to the monitor. The CMC shall verify
                         receipt and forward the response to the CMD, CA, for clinical issues the Chief Medical
                         Officer, and for facility maintenance issues Facility Management and Maintenance
                         Director. The CMC shall indicate the final disposition of the breach and corrective
                         action taken by the contractor on the SNR.
      Case 3:22-cv-00093 Document 37-5 Filed 05/25/22 Page 6 of 8 PageID #: 3243
Effective Date: August 1, 2020                       Index # 205.03                     Page   7       of   8

Subject: CONTRACT MONITORING OF PRIVATELY MANAGED FACILITIES



                  5.     The CMC shall include a summary of the contractor’s response to all Letters of
                         Notification, as well as verification of corrective action, on the monthly SNR.

           G.     Liquidated Damages Process

                  1.     The amount of the liquidated damages shall be calculated in accordance with the
                         contract by the Inspector General in consultation with the General Counsel.

                  2.     The liquidated damages amount calculated in accordance with the contract shall be
                         reviewed for reasonableness taking into account the following factors:

                         a.      The contractor’s action(s) in mitigation of the breach condition(s)

                         b.      Prevailing circumstances that are both a factor in the existence of the breach
                                 condition(s) and are reasonably determined to have presented a material
                                 impediment to the contractor’s ability to avoid the breach condition(s)

                         c.      The quantum of probable harm resulting from the breach condition(s) as a whole
                                 is reasonably determined to be less than applicable liquidated damage
                                 calculation.

                  3.     Any determination of liquidated damages shall be communicated by the Commissioner
                         separately and in writing with copies to the CMD, contractor, subcontractor if
                         applicable, Correctional Administrator, General Counsel, Assistant Commissioner of
                         Prisons, Assistant Commissioner of Rehabilitative Services, Chief Financial Officer,
                         Chief Medical Officer, Facility Management and Maintenance Director, Director of
                         Fiscal and budget, Chief of Staff, Inspector General and monitors, FMM, and auditors

            H.    Inspections, Audits, and Other Reviews

                  1.     Each privately managed facility shall be subject to an audit annual
                         inspection/compliance review as specified in Policy #103.07 and Commissioner-
                         directed reviews. Copies of all compliance annual inspection/compliance review
                         reports and the management responses addressing findings of non-compliance related
                         to contract areas shall be provided to the Deputy Commissioners, Assistant
                         Commissioners, appropriate executive staff, administrators, directors, and the CMD.

                  2.     The Office of Investigations and Conduct (OIC) TDOC Investigations Unit may
                         perform investigations into contract issues at the direction of the
                         Commissioner/designee.

                  3.     Other specific area reviews may occur as directed by the Commissioner/designee.

                  4.     Central Office Directors or other TDOC employees whose responsibilities include
                         oversight of programs/procedures which contractors are required to provide shall
                         advise monitors, CMD, CA, Chief Medical Officer, Facility Management and
                         Maintenance Director, and appropriate directors in writing of failure of contractors to
                         deliver services, provide required reports or specially requested materials/documents in
                         a timely manner, as well as any other concerns that may arise concerning contractor
                         performance in their area of responsibility.

      Case 3:22-cv-00093 Document 37-5 Filed 05/25/22 Page 7 of 8 PageID #: 3244
Effective Date: August 1, 2020                     Index # 205.03                   Page   8     of    8

Subject: CONTRACT MONITORING OF PRIVATELY MANAGED FACILITIES



            I.    The CMD/designee shall distribute on a quarterly basis a summary of recurring non-
                  compliance issues at privately managed facilities to all executive staff.

            J.    Information received from outside agencies [i.e., State Fire Marshal inspections, Department
                  of Health sanitation inspections, American Correctional Association (ACA), U.S. Department
                  of Justice, etc.] that may have a bearing on the assessment of a contractor’s performance will
                  be documented and referenced in any subsequent report concerning contractor performance.

            K.    The Director of Contracts Administration shall ensure that the CMD, CA, Chief Medical
                  Officer, Facility Management and Maintenance Director, and monitors, FMM, and auditors
                  have a current copy of contracts officiated between the State and the privately managed
                  facility operator.

    VII.    ACA STANDARDS: 1-CO-1B-10.

   VIII.    EXPIRATION DATE:        August 1, 2023.




      Case 3:22-cv-00093 Document 37-5 Filed 05/25/22 Page 8 of 8 PageID #: 3245
